                                        UNITED STATES DISTRICT COURT

                                       NORTHERN DISTRICT OF CALIFORNIA


           USA,                                         Case No.20-cr-00249 RS
                          Plaintiff,
                                                        CLERK’S NOTICE
                     v.

           ROWLAND ANDRADE,
                          Defendant.

        TO ALL PARTIES AND COUNSEL OF RECORD:


          Please find on the subsequent pages Jury Note One and Two.


        Dated: 3/12/2025
                                                      Mark B. Busby
                                                      Clerk, United States District Court



                                                      By: ________________________
                                                      Corinne Lew, Deputy Clerk to the
                                                      Honorable RICHARD SEEBORG
                                                      415-522-2123




Clerk’s-Notice_CRD
rev. June 2018
